Case 1:17-cv-01646-LPS Document 63 Filed 09/07/18 Page 1 of 6 PageID #: 1327



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ALIGN TECHNOLOGY, INC.,

                 Plaintiff,

           V.
                                                           C.A. No. 17-1646-LPS-CJB
 3SHAPE A/Sand 3SHAPE INC.,

                 Defendants.


 ALIGN TECHNOLOGY, INC.,

                 Plaintiff,

        V.
                                                           C.A. No. 17-1647-LPS-CJB
 3SHAPE A/Sand 3SHAPE INC.,

                 Defendants.


                                   MEMORANDUM ORDER

       Presently before the Court is Defendants 3Shape A/Sand 3Shape, Inc.' s (collectively,

"3Shape") motions to stay proceedings until completion of two investigations at the United

States International Trade Commission ("Commission" or "ITC"). (C.A. No. 17-1646-LPS-CJB

D.I. 14; C.A. No. 17-1647-LPS-CJB D.I. 14) 1 For the reasons stated below, the Court will

DENY the motions to stay.

       1.       Plaintiff Align Technology, Inc. ("Align") filed four separate actions against

3Shape in this District, alleging infringement of a total of 26 patents. (D .I. 15 at 1) The patents




       1
         Defendants filed the same motion and same briefs in both actions. Citations to the
docket are to documents filed in C.A. No. 17-1646-LPS-CJB unless otherwise indicated.
Case 1:17-cv-01646-LPS Document 63 Filed 09/07/18 Page 2 of 6 PageID #: 1328



asserted in each action are as follows:

               C.A. No. 17-1646-LPS-CJB: United States Patent Nos. 9,510,757;
               7,112,065; 9,451,873 ; 9,299,192; 9,427,916; 8,454,364; and
               8,845,330. (C.A. No. 17-1646-LPS-CJB D.I. 1 at iii/ 16-22)

               C.A. No. 17-1647-LPS-CJB: U.S. Patent Nos. 9,566,132;
               8,545,221; 8,092,2 15 ; 7,056,115; 8,734,149; and 6,227,850. (C.A.
               No. 17-1647-LPS-CJB D.I. 1 at iii/ 16-21)

               C.A. No. 17-1648-LPS-CJB: U.S. Patent Nos. 7,092,107 ('" 107
               patent"); 9,615,901 ; 8,638,448 ; 8,638,447; 6,845 ,175; and
               6,334,853. (C.A. No. 17-1648-LPS-CJB D.I. 1 at iii/ 16-21)

               C.A. No. 17-1649-LPS-CJB: U.S. Patent Nos. 6,948,931 ;
               6,685,470; 6,514,074 ("'074 patent"); 8,363,228; 8,451 ,456;
               8,675,207; and 9,101,433. (C.A. No. 17-1649-LPS-CJB D.I. 1 at
               ,i,i 16-22)

       2.      At the same time, Align filed two complaints at the ITC. The ITC instituted

investigations (the "ITC Investigations") on all but one of the same patents at issue in C.A. No.

17-1648-LPS-CJB (the ' 107 patent) and all but one of the patents at issue in C.A. No. 17-1649-

LPS-CJB (the ' 074 patent).

       3.      JShape sought a mandatory stay in C.A. Nos. 17-1648-LPS-CJB and 17-1649-

LPS-CJB as to the patents also put at issue by the ITC Investigations and a discretionary stay as

to the two remaining patents in those action, as well as a discretionary stay as to all patents at

issue in C.A. Nos. 17-1646-LPS-CJB and 17-1647-LPS-CJB. (See, e.g., C.A. No. 17-1646-LPS-

CJB D.I. 14)

       4.      Pursuant to 28 U.S.C. § 1659(a):

               In a civil action involving parties that are also parties to a
               proceeding before the United States International Trade
               Commission .. . at the request of a party to the civil action that is
               also a respondent in the proceeding before the Commission, the


                                                  2
Case 1:17-cv-01646-LPS Document 63 Filed 09/07/18 Page 3 of 6 PageID #: 1329



               district court shall stay, until the determination of the Commission
               becomes final, proceedings in the civil action with respect to any
               claim that involves the same issues involved in the proceeding
               before the Commission, but only if such request is made within-

                      (1) 30 days after the party is named as a respondent
                      in the proceeding before the Commission, or

                      (2) 30 days after the district court action is filed,
                      whichever is later.

       5.      Thereafter, the parties stipulated to a complete stay (with respect to all patents) in

C.A. Nos. 17-1648-LPS-CJB and 17-1649-LPS-CJB pending resolution of the ITC

Investigations. (C.A. No. 17-1648-LPS-CJB D.I. 19; C.A. No. 17-1649-LPS-CJB D.I. 20) The

portions of the motions seeking a discretionary stay in C.A. Nos. 17-1646-LPS-CJB and 17-

1647-LPS-CJB (hereinafter, the "Instant Actions") remain pending.

       6.      District courts have the discretionary power to stay litigation under their inherent

power to control their own dockets. See Landis v. North Am. Co. , 299 U.S. 248, 254-55 (1936).

In determining whether to grant a discretionary stay, a court typically considers:

               (1) whether granting the stay will simplify the issues for trial; (2)
               the status of the litigation, particularly whether discovery is
               complete and a trial date has been set; and (3) whether a stay would
               cause the non-movant to suffer undue prejudice from any delay, or
               allow the movant to gain a clear tactical advantage.

Toshiba Samsung Storage Tech. Korea Corp. v. LG Elecs., Inc., 193 F. Supp. 3d 345, 348 (D.

Del. 2016) (citation omitted). "Courts have also referenced undue prejudice or hardship to the

movant as a factor to be considered in evaluating a request to stay litigation." Mission Abstract

Data L.L.C. v. Beasley Broadcast Group, Inc., 2011 WL 5523315, at *2 (D. Del. Nov. 14, 2011).

       7.      The simplification of issues factor weighs strongly against a stay. There is no



                                                  3
Case 1:17-cv-01646-LPS Document 63 Filed 09/07/18 Page 4 of 6 PageID #: 1330



direct benefit to be gained from waiting for resolution of the ITC Investigations. While the

patents-at-issue in the Instant Actions "involve similar subject matter to those asserted in the ITC

Investigations" and "identify the same allegedly infringing products as those identified in the ITC

Investigations" (D.I. 15 at 8), "[i]t is undisputed that none of the patents-in-suit in either of the

two ITC Investigations share a common specification, prosecution history, or parent/child

relationship with any patent at issue in the" Instant Actions, (D.I. 17 at 13). Overlapping subject

matter, without more - - such as overlapping specifications, prosecution history, or a familial

relationship - - does not provide much support for a stay. See LG Elecs., Inc. v. Eastman Kodak

Co., 2009 WL 1468703, at *4 (S.D. Cal. May 26, 2009); Humanscale Corp. v. CompX Int '! Inc.,

2009 WL 1444312, at *2 (E.D. Va. May 21, 2009); cf Graphic Props. Holdings, Inc. v. Toshiba

Am. Info. Sys. , Inc. , 2014 WL 923314, at *2 (D. Del. Mar. 5, 2014) (finding simplification factor

weighed in favor of discretionary stay where patent was continuation of patent at issue in ITC

investigation and shared "common inventors, specification, and prosecution history"). Here,

aside from overlapping accused products, the most 3Shape can show is that "all of the patents in

the 1646 case and three of the seven patents asserted in the 164 7 case share at least one inventor

in common with [four] patents asserted in the 1648 and 1649 Actions and ITC Investigations"

(D.I. 15 at 9) and that "parts of the specifications are very similar" (D.I. 55 ("Tr.") at 20-21).

         A similar specification or even similar terms are not likely to simplify claim

construction, as the differences could well lead to arguments for different constructions. (Id. at

19-20) Nor is discovery likely to be made efficient by a stay any more than the parties' cross-use

agreement already promotes efficiency. (Id. at 20) Also, the ITC investigations could be

resolved on any number of non-merits grounds (e.g., jurisdictions, "domestic industry"


                                                   4
Case 1:17-cv-01646-LPS Document 63 Filed 09/07/18 Page 5 of 6 PageID #: 1331



requirements, design-arounds) that are of no assistance to this Court in resolving even

overlapping issues. (See Tr. at 27-28)

       8.       The status of the litigation factor slightly favors a stay. An individual scheduling

order was entered in the Instant Actions on May 18, 2018, and the earliest trial date is not until

April 20, 2020. (D.I. 42) Align concedes that this factor weighs in favor of a stay. (D.I. 17 at

15) ("Align does not dispute that when a stay is sought before case scheduling deadlines are set,

this weighs in favor of a stay.")

       9.       The undue prejudice to the non-movant factor weighs slightly against a stay. To

Align a lengthy stay, would effectively be "a complete bar on Align's efforts to obtain any

injunctive or monetary relief against 3Shape[] for the infringement of the 26 separate patents,"

would preclude injunctive relief on at least one patent that is set to expire in 2019, cause "the loss

of testimonial and documentary evidence," and also result in loss of market share, given that

Align and 3Shape are direct competitors in the intraoral scanner market. (Id. at 8-10) 3Shape

counters by noting that the ITC Investigations, which concern "substantially the same 3Shape

products," would provide the injunctive relief that Align also seeks in the Instant Actions. (D.I.

20 at 3) However, any injunction issued by the ITC would not apply to products made in the

United States, including any software that 3Shape could "flash" domestically. (Tr. at 33-34)

3Shape is correct that Align has not "filed a motion for a preliminary injunction nor has [it]

claimed any urgent injury" in the Instant Actions. (D.I. 15 at 12) This factor, then, weighs

slightly against a stay.

       Finally, 3Shape has not identified prejudice of any significant magnitude that will result

from denial of a stay.


                                                  5
 Case 1:17-cv-01646-LPS Document 63 Filed 09/07/18 Page 6 of 6 PageID #: 1332



       Accordingly, for the foregoing reasons, IT IS HEREBY ORDERED that 3Shape's

· Motions to Stay Pending Resolution ofITC Proceedings (C.A. No. 17-1646-LPS-CJB D.I. 14;

 C.A. No. 17-1647-LPS-CJB D.I. 14) are DENIED.




 Wilmington, Delaware                             HONORABLE LEONARD P. STARK
 September 7, 2018                                UNITED STATES DISTRICT JUDGE




                                              6
